           Case 2:18-cr-00004-DLC Document 155 Filed 01/16/19 Page 1 of 2  FILED
                                                                            JAN 16 2019
                                                                            Clerk, U.S Courts
                  IN THE UNITED STATES DISTRICT COURT                       District Of Montana
                                                                             Missoula Division
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION


 UNITED STATES OF AMERICA,
                                                       CR 18-04-BU-DLC
                   Plaintiff,
                                                              ORDER
     vs.

 RUTH BAYONA,

                   Defendant.




      Before the Court is Defendant Ruth Bayona's Unopposed Motion to Allow

Videoconference Testimony of Dr. Michael Musacco. (Doc. 153.) The Court

finds that the request is justified, as Dr. Musacco's testimony may benefit the fact-

finding process. However, the Court anticipates that a method of communication

other than FaceTime will be required.

      Accordingly, IT IS ORDERED that the motion (Doc. 153) is GRANTED,

provided that Counsel for Bayona is able to coordinate with the Court and its

Information Technology Supervisor to ensure a reliable two-way connection.




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   Dated this __!__It_ clay of January, 201 .




                                      Dana L. Christensen, Chief Judge
                                      United States District Court




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